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     Melani Schulte
 5
 6                          UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF NEVADA
 7
 8
     In Re:                                     Case No. 09-29123-MKN
 9
     MELANI SCHULTE and                         Chapter 11
10   WILLIAM SCHULTE,
                                                Jointly Administered with:
11
     2704 SATTLEY LLC,                          09-27238-MKN
12   HOT ENDEAVOR LLC,                          09-27909-MKN
     1341 MINUET LLC,                           09-27910-MKN
13   1708 PLATO PICO LLC,                       09-27911-MKN
     2228 WARM WALNUT LLC,                      09-27912-MKN
14   9425 VALLEY HILLS LLC,                     09-27913-MKN
     9500 ASPEN GLOW LLC,                       09-27914-MKN
15   5218 MISTY MORNING LLC,                    09-27916-MKN
     CHERISH LLC,                               09-28513-MKN
16   SABRECO INC.,                              09-31584-MKN
     KEEP SAFE LLC,                             09-31585-MKN
17
18                  Debtors.
19                                              Date: February 09, 2022
                                                Time: 9:30 a.m.
20
21       REPLY TO OPPOSITION TO MOTION TO COMPEL DISCOVERY OF
     SHELLPOINT MORTGAGE SERVICING AND THAT DEBTORS REQUEST FOR
22   PRODUCTION BE RESPONDED TO PROPERLY AND FOR ATTORNEYS FEES
23            COMES NOW, Debtor, Melani Schulte (“Schulte” or “Debtor”), and files this Reply to
24   NewRez LLC dba Shellpoint Mortgage Servicing (“Shellpoint”), Opposition to Debtor’s Motion
25   to Compel Discovery of Shellpoint Mortgage Servicing and that Debtors Request for Production
26   be Responded to Properly and for Attorney’s Fees.
27
28                                                 1
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 1                                                 I
 2                                              Overview

 3          Shellpoint’s opposition, is no better than its actual responses to Schulte’s requests, in

 4   that it fails to provide even a minimal defense for its actions. Instead, Shellpoint’s opposition

 5   makes three generic arguments. First, that Schulte’s request for production is vague, ambiguous

 6   and lacks relevance. Second, the information is confidential and proprietary. And third, its

 7   responses were satisfactory. But, as explained below, none of these adequately address Schultes’

 8   motion to compel.

 9                                                 II
                                                Argument
10
            To start with, Schulte has explained numerous times to Shellpoint’s counsel that her
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     simple request for its Bankruptcy Policy and Procedure Manuals, for certain years, when one
12
     of the loans it services is in bankruptcy, is a clear and relevant request. As is Schulte’s request
13
     for the meaning of the codes it uses in its loan notes.
14
            Then, without any citation to a case holding that Bankruptcy Policy and Procedure
15
     Manuals are in fact, confidential and proprietary, Shellpoint attempts to hide behind these
16
     buzzwords in unilaterally refusing to produce the manuals. So, without any backup, this
17
     argument also fails. Besides, if in fact there was some type of legitimate confidentially or
18
     proprietary reason for withholding them, Shellpoint could have brought that to the court’s
19
     attention months ago when these documents were initially requested. And Shellpoint itself
20
     could have sought some relief from the court, but failed to do so.
21
            Finally, Shellpoint’s responses in no way satisfied its obligations. Boilerplate objections
22
     do not provide an appropriate excuse to not accede to Schulte’s requests. Not surprisingly, no
23
     evidence is offered by Shellpoint to support any of its contentions. Thus, Schulte’s motion
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     should be granted.
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28                                                   2
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 1                                              II
 2                                          Conclusion

 3          Shellpoint should not be rewarded for failing to produce Schulte’s simple request for

 4   documents. In addition, attorney fees and costs should be awarded for having to get the Court

 5   to intervene.

 6          DATED this 2nd day of February, 2022.

 7          RESPECTFULLY SUBMITTED:
 8          /S/CHRISTOPHER P. BURKE, ESQ.
            CHRISTOPHER P. BURKE, ESQ.
 9          Attorney for Defendant
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28                                                3
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 1                                CERTIFICATE OF SERVICE
 2          I hereby certify that the 2nd day of February, 2022, I caused the above and foregoing
 3   REPLY TO OPPOSITION TO MOTION TO COMPEL DISCOVERY OF SHELLPOINT
     MORTGAGE SERVICING AND THAT DEBTORS REQUEST FOR PRODUCTION BE
 4
     RESPONDED TO PROPERLY AND FOR ATTORNEYS FEES to be sent by electronic notice
 5
     through the Court’s ECF program and depositing same in the United States Mail, first class,
 6
     postage prepaid, in a securely sealed envelope and addressed to the last known address of
 7   the following:
 8
 9
     ARIEL E. STERN, ESQ.
10   NATALIE L. WINSLOW, ESQ.
     NICHOLAS E. BELAY, ESQ.
11   AKERMAN LLP
     1635 Village Center Circle, Suite 200
12   Las Vegas, NV 89134
13   ariel.stern@akerman.com
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14   nicholas.belay@akerman.com

15
16   /s/ Adriana Pelayo
17   Employee of
     Christopher P. Burke, Esq.
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